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                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF CONNECTICUT

SELINA SOULE, a minor, by Bianca            Case No.: ________________________
Stanescu, her mother; CHELSEA
MITCHELL, a minor, by Christina Mitchell,
her mother; ALANNA SMITH, a minor, by       VERIFIED COMPLAINT FOR
Cheryl Radachowsky, her mother,             DECLARATORY AND INJUNCTIVE
                                            RELIEF AND DAMAGES
                         Plaintiffs,
v.                                          JURY TRIAL REQUESTED
CONNECTICUT ASSOCIATION OF
SCHOOLS, INC. d/b/a CONNECTICUT
                                            Dated: February 12, 2020
INTERSCHOLASTIC ATHLETIC
CONFERENCE; BLOOMFIELD PUBLIC
SCHOOLS BOARD OF EDUCATION;
CROMWELL PUBLIC SCHOOLS BOARD
OF EDUCATION; GLASTONBURY
PUBLIC SCHOOLS BOARD OF
EDUCATION; CANTON PUBLIC
SCHOOLS BOARD OF EDUCATION;
DANBURY PUBLIC SCHOOLS BOARD OF
EDUCATION,


                         Defendants.
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                                       INTRODUCTION


       1.      The Plaintiffs are three high school girls who compete in

interscholastic girls’ track and field in Connecticut. Like large numbers of female

athletes around the nation, each Plaintiff has trained much of her life—striving to

shave mere fractions of seconds off her race times—in order to experience the

personal satisfaction of victory, gain opportunities to participate in state and

regional meets, gain access to opportunities to be recruited and offered athletic

scholarships by colleges, and more.

       2.      Unfortunately for Plaintiffs and other girls in Connecticut, those

dreams and goals—those opportunities for participation, recruitment, and

scholarships—are now being directly and negatively impacted by a new policy that

is permitting boys 1 who are male in every biological respect to compete in girls’

athletic competitions if they claim a female gender identity.

       3.      This discriminatory policy is now regularly resulting in boys displacing

girls in competitive track events in Connecticut—excluding specific and identifiable

girls including Plaintiffs from honors, opportunities to compete at higher levels, and

public recognition critical to college recruiting and scholarship opportunities that

should go to those outstanding female athletes.




1
  Because Title IX focuses on equal opportunities between the sexes, because this Complaint is
precisely concerned with effects of biological differences between males and females, because the
terms “boys” and “men” are commonly understood to refer to males, and to avoid otherwise inevitable
confusion, we refer in this complaint to athletes who are biologically male as “boys” or “men,” and to
athletes who are biologically female as “girls” or “women.” This Complaint uses the names preferred
by each student rather than legal names.

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      4.      As a result, in scholastic track competition in Connecticut, more boys

than girls are experiencing victory and gaining the advantages that follow even

though postseason competition is nominally designed to ensure that equal numbers

of boys and girls advance to higher levels of competition. Compared to boys—those

born with XY chromosomes—in the state of Connecticut those who are born

female—with XX chromosomes—now have materially fewer opportunities to stand

on the victory podium, fewer opportunities to participate in post-season elite

competition, fewer opportunities for public recognition as champions, and a much

smaller chance of setting recognized records.

      5.      This reality is discrimination against girls that directly violates the

requirements of Title IX: “Treating girls differently regarding a matter so

fundamental to the experience of sports—the chance to be champions—is

inconsistent with Title IX’s mandate of equal opportunity for both sexes.”

McCormick ex rel. McCormick v. Sch. Dist. of Mamaroneck, 370 F.3d 275, 295 (2d

Cir. 2004).


                        I.     JURISDICTION AND VENUE

      6.      This action pursuant to Title IX, 20 U.S.C. § 1681, et seq. and its

interpreting regulations, raises federal questions and seeks redress for deprivation

of rights protected by federal law.

      7.      This Court has original jurisdiction over the claims asserted in this

Complaint under 28 U.S.C. § 1331, which provides jurisdiction for claims raising




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questions of federal law, and 28 U.S.C. § 1343(a), which provides jurisdiction for

claims seeking vindication of civil rights protected by federal law.

        8.       This Court has authority to award the requested declaratory relief

under 28 U.S.C. § 2201. This Court has authority to award the other relief

requested under 28 U.S.C. § 2202.

        9.       Venue is proper in this Court under 28 U.S.C. § 1391(b) because a

substantial part of the events or omissions giving rise to the claims occurred in this

District and all Plaintiffs and Defendants reside or have their principal place of

business in Connecticut.


                                      II.   PARTIES

   A.         Plaintiffs

        10.      Plaintiff Selina Soule is a twelfth-grade female student and varsity

track and field athlete at Glastonbury High School. Because Selina Soule is a

minor, she brings this action by her mother, Bianca Stanescu.

        11.      Plaintiff Chelsea Mitchell is a twelfth-grade female student and

varsity track and field athlete at Canton High School. Because Chelsea Mitchell is a

minor, she brings this action by her mother, Christina Mitchell.

        12.      Plaintiff Alanna Smith is a tenth-grade female student and varsity

track and field athlete at Danbury High School. Because Alanna Smith is a minor,

she brings this action by her mother, Cheryl Radachowsky.




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    13.         Selina Soule, Bianca Stanescu, Chelsea Mitchell, Christina Mitchell,

Alanna Smith, and Cheryl Radachowsky all reside within the District of

Connecticut.

   B.         Defendants

        14.     Defendant Bloomfield Public Schools Board of Education is located in

Bloomfield, Connecticut, and has entered and continues to enter male athlete Terry

Miller in Connecticut Interscholastic Athletic Conference (CIAC) girls’ athletic

competitions.

        15.     Defendant Cromwell Public Schools Board of Education is located in

Cromwell, Connecticut, and has entered and continues to enter male athlete

Andraya Yearwood in CIAC girls’ athletic competitions.

        16.     Defendant Glastonbury Public Schools Board of Education is located in

Glastonbury, Connecticut, and provides opportunities for interscholastic

competition for its students only through events sanctioned by and subject to the

discriminatory policies of CIAC.

        17.     Defendant Canton Public Schools Board of Education is located in

Canton, Connecticut, and provides opportunities for interscholastic competition for

its students only through events sanctioned by and subject to the discriminatory

policies of CIAC.

        18.     Defendant Danbury Public Schools Board of Education is located in

Danbury, Connecticut, and provides opportunities for interscholastic competition for




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its students only through events sanctioned by and subject to the discriminatory

policies of CIAC.

      19.     On information and belief, each of Bloomfield Public Schools, Cromwell

Public Schools, Glastonbury Public Schools, Canton Public Schools, and Danbury

Public Schools (collectively, “the Defendant Schools”), receives federal financial

assistance.

      20.     All programs at the Defendant Schools are therefore subject to the

requirements of Title IX.

      21.     Defendant Connecticut Association of Schools, Inc., which operates and

is referred to herein under the name of the Connecticut Interscholastic Athletic

Conference (CIAC) is a Connecticut not-for-profit corporation with its headquarters

in Cheshire, Connecticut. CIAC is the “sole governing body for inter-scholastic

athletic activities in Connecticut,” and “directs and controls” all high school

athletics for boys and girls in Connecticut.

      22.     CIAC is funded by dues from member schools that are subject to the

obligations of Title IX. According to CIAC, “[v]irtually all public and parochial high

schools in Connecticut are dues-paying members.”

      23.     All Defendant Schools are dues-paying members of the CIAC.

      24.     On information and belief, all public schools in Connecticut receive

federal funds covered by Title IX, and thus are subject to the requirements of Title

IX.




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      25.     CIAC is subject to the obligations of Title IX because it indirectly

receives federal funding from its public member-schools, see 34 C.F.R. § 106.2(i),

and is considered a state actor, see Brentwood Acad. v. Tenn. Secondary Sch.

Athletic Ass’n, 531 U.S. 288, 303-305 (2001).

      26.     CIAC is also controlled by member schools that are subject to the

obligations of Title IX. The CIAC Board of Control is elected by the member schools,

and a majority of the CIAC Board of Control are principals or other senior

administrators of member schools. CIAC policies are established by the principals of

the member schools, through the CIAC Legislative Body which is made up of the

principals of all member schools.

      27.     On information and belief, the majority of CIAC member schools

receive federal funds and are subject to the obligations of Title IX.

      28.     CIAC controls and governs competition in 27 sports across three

seasons each year, including Winter Indoor Track and Spring Outdoor Track. CIAC

designates some sports only for boys (e.g. football and baseball), different sports

only for girls (e.g. softball), and other sports for both boys and girls (e.g. swimming

and track).

      29.     For the latter sports, though, CIAC and its member schools have

historically separated teams and competitions at the high school level by sex, or at

least prohibited boys from competing in the girls’ events.




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                            III.   FACTUAL BACKGROUND

   A.         The Goals and Requirements of Title IX, and Its Impact on
              Women’s Athletics.

        30.     In 1972, Congress enacted Title IX, 20 U.S.C. § 1681, which forbids

education programs or activities receiving federal financial assistance from

discriminating against persons based on their sex. It provides:

        “No person in the United States shall, on the basis of sex, be excluded
        from participation in, be denied the benefits of, or be subjected to
        discrimination under any education program or activity receiving
        Federal financial assistance . . . .” 20 U.S.C. § 1681(a).

        31.     Title IX was designed to eliminate significant “discrimination against

women in education.” Neal v. Bd. of Trs. of Cal. State Univs., 198 F.3d 763, 766 (9th

Cir. 1999).

        32.     According to one of its primary sponsors, Senator Birch Bayh, Title IX

promised women “an equal chance to attend the schools of their choice, to develop

the skills they want, and to apply those skills with the knowledge that they will

have a fair chance to secure the jobs of their choice with equal pay for work.” 118

Cong. Rec. 5808 (1972).

        33.     Before the enactment of Title IX in 1972, schools often emphasized

boys’ athletic programs “to the exclusion of girls’ athletic programs,” Williams v.

School District of Bethlehem, 998 F.2d 168, 175 (3rd Cir. 1993), and vastly fewer

girls participated in competitive interscholastic athletics than did boys.

        34.     Many have argued that the competitive drive and spirit taught by

athletics is one important educational lesson that carries over and contributes to

lifetime success in the workplace. Certainly, implementing regulations make clear

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that Title IX applies in full force to athletic programs sponsored by recipients of

federal financial assistance:

      “No person shall, on the basis of sex, be excluded from participation in,
      be denied the benefits of, be treated differently from another person or
      otherwise be discriminated against in any interscholastic,
      intercollegiate, club or intramural athletics offered by a recipient, and
      no recipient shall provide any such athletics separately on such basis.”
      34 C.F.R. § 106.41(a).

      35.    In the statute, Congress expressly delegated authority to the United

States Department of Health, Education and Welfare (HEW) to promulgate

regulations interpreting Title IX. 20 U.S.C. §1682. In 1975, HEW promulgated

regulations that are codified at 34 C.F.R. Part 106 (collectively, the “Regulations”).

Further, in 1979, the Department of Education Office for Civil Rights (OCR) issued

a policy interpretation of Title IX and the Regulations to provide recipients with

more specific guidance about the statute’s application to intercollegiate athletics.

This policy interpretation is found at 44 Federal Register 71,413 (1979) (the “Policy

Interpretation”). Courts have recognized that the Policy Interpretation is also

applicable to high school athletic programs. The Policy Interpretation was further

clarified by OCR through issuance of OCR’s 1996 Clarification of Intercollegiate

Athletics Policy Guidance: The Three-Part Test (the “OCR Clarification”).

      36.    Title IX and its implementing regulations and guidance require that, if

an entity subject to Title IX provides athletic programs or opportunities separated

by sex, then it must do so in a manner that “provide[s] equal athletic opportunity

for members of both sexes.” 34 C.F.R. § 106.41(c).




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      37.    As one aspect of equal athletic opportunity, implementing regulations

and guidance state that provided athletic opportunities must “effectively

accommodate the interests and abilities” of girls, as well as of boys. 34 C.F.R. §

106.41(c). Here, the “governing principle” is that “the athletic interests and abilities

of male and female students must be equally effectively accommodated.” Policy

Interpretation, 44 Fed. Reg. at 71,414. More specifically, the institution must

accommodate the physical abilities of girls and women “to the extent necessary to

provide equal opportunity in . . . levels of competition,” and competitive

opportunities “which equally reflect their abilities.” Policy Interpretation, 44 Fed.

Reg. at 71,417-418.

      38.    As another aspect of equal athletic opportunity, implementing

regulations and guidance state that male and female athletes “should receive

equivalent treatment, benefits and opportunities.” Policy Interpretation, 44 Fed.

Reg. at 71,415. The “equal treatment” to which girls and women are entitled

includes equal “opportunities to engage in . . . post-season competition,” id. at

71,416, equal opportunities for public recognition, 34 C.F.R. § 106.41(c), and the

right to be free of any policies which are “discriminatory in . . . effect” or that have

the effect of denying “equality of athletic opportunity.” 44 Fed. Reg. at 71,417.

      39.    Title IX has been strikingly successful towards its intended goals. “For

example, between 1972 and 2011, girls’ participation in high school athletics

increased from approximately 250,000 to 3.25 million students.” U.S. Dept. of Educ.,

OCR, Protecting Civil Rights, Advancing Equity 33 (2015), https://bit.ly/2VF516Q.



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In college, women’s numbers have grown almost as steeply, from 30,000 to more

than 288,000 in 2017-18. 2 Following the United States’ famed 1999 Women’s World

Cup win, the Ninth Circuit wrote that:

         “The victory sparked a national celebration and a realization by many
         that women’s sports could be just as exciting, competitive, and
         lucrative as men’s sports. And the victorious athletes understood as
         well as anyone the connection between a 27–year–old statute [Title IX]
         and tangible progress in women’s athletics.” Neal, 198 F.3d at 773.

    B.         Equal Opportunities in Athletics and the Physiological
               Differences Between the Sexes.

         40.     What Title IX does not require—or even permit—is that recipients

blind themselves to students’ sex when developing their athletic programs.

Sponsors of the statute made that much clear during the debates in Congress, 3 and

implementing regulations expressly permit schools to sponsor sex-specific teams

“where selection for such teams is based on competitive skill or the activity involved

is a contact sport.” 34 C.F.R. 106.41(b).

         41.     In fact, ignoring the physical differences between the sexes would in

many sports make it impossible to “accommodate the . . . abilities” of girls and

women, and to provide athletic opportunities of equal quality to girls and women. In

fact, in 1975 Dr. Bernice Sandler—who is frequently recognized as “the Godmother

or Title IX”— told the House Subcommittee on Postsecondary Education, while

testifying in support of regulations implementing Title IX, that to operate an




2 Doriane Lambelet Coleman et al., Re-Affirming the Value of the Sports Exception to Title IX’s
General Non-Discrimination Rule, Duke Journal of Gender Law Policy (forthcoming February 2020),
available at SSRN: https://ssrn.com/abstract=3523305, citing https://ope.ed.gov/athletics/#/.
3 S. Ware, Title IX: A Brief History with Documents, at 13 (2007).



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entirely coed athletic program, ignoring differences in male and female physiology,

would for many sports “effectively eliminate opportunities for women to participate

in organized competitive athletics. For these reasons, such an arrangement would

not appear to be in line with the principle of equal opportunity.” Statement of Dr.

Bernice Sandler, Director, Project on the Status & Education of Women, Ass’n of

American Colleges, June 25, 1975, Hearings on Sex Discrimination Regulations at

343.

       42.   Dr. Sandler was correct. Permitting males to compete in girls’ or

women’s athletic events doesn’t merely add a new level of challenge for determined

girls and women. Victory over comparably talented and trained male athletes is

impossible for girls and women in the vast majority of athletic competitions,

because of inherent and biologically dictated differences between the sexes.

       43.   While boys and girls have comparable athletic capabilities before boys

hit puberty, male puberty quickly increases the levels of circulating testosterone in

healthy teen and adult males to levels ten to twenty times higher than the levels

that occur in healthy adult females, and this natural flood of testosterone drives a

wide range of physiological changes that give males a powerful physiological

athletic advantage over females.

       44.   The athletic performance-enhancing effects of testosterone are well

known, and the anabolic steroids too often used by athletes to gain an unfair and

prohibited advantage are often synthetic modifications of testosterone. Basically,




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from puberty on, boys and men have a large, natural, and equally unfair “doping”

advantage over girls and women.

      45.    Physiological athletic advantages enjoyed over girls and women by

similarly fit males after puberty include:

             a.     Larger lungs and denser alveoli in the lungs, enabling faster
                    oxygen uptake;

             b.     Larger hearts and per-stroke pumping volume, and more
                    hemoglobin per unit of blood, all enabling higher short-term and
                    sustained levels of oxygen transport to the muscles;

             c.     An increased number of muscle fibers and increased muscle
                    mass (for example, men have 75%-100% greater cross-sectional
                    area of upper arm muscle than do comparably fit women, while
                    women have 60-70% less trunk and lower body strength than
                    comparably fit men);

             d.     Higher myoglobin concentration within muscle fibers, enabling
                    faster transfer and “cellular respiration” of oxygen within the
                    muscle to unleash power;

             e.     Larger bones, enabling the attachment of greater volumes of
                    muscle fiber;

             f.     Longer bones, enabling greater mechanical leverage thus
                    enabling males to unleash more power, e.g., in vertical jumps;

             g.     Increased mineral density in bones resulting in stronger bones,
                    providing superior protection against both stress fractures and
                    fractures from collisions;

             h.     And, of course, U.S. adult males are on average 5 inches taller
                    than U.S. adult women.

      46.    Meanwhile, female puberty brings distinctive changes to girls and

women that identifiably impede athletic performance, including increased body fat

levels which—while healthy and essential to female fertility—creates increased




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weight without providing strength, as well as wider hips and different hip joint

orientation that result in decreased hip rotation and running efficiency.

      47.    These are inescapable biological facts of the human species, not

stereotypes, “social constructs,” or relics of past discrimination.

      48.    As a result of these many inherent physiological differences between

men and women after puberty, male athletes consistently achieve records 10-20%

higher than comparably fit and trained women across almost all athletic events,

with even wider consistent disparities in long-term endurance events and contests

of sheer strength such as weight-lifting.

      49.    The basic physiological differences between males and females after

puberty have long been recognized and respected by the different standards set for

boys and girls in a number of athletic events. For example:

             a.     The net height used for women’s volleyball is more than 7 inches
                    lower than that used for men’s volleyball.

             b.     The standard weight used in high school shot put is 4 kilograms
                    for girls, and 5.44 kilograms (36% heavier) for boys.

             c.     The hurdle height used for the high school girls’ 100 meter
                    hurdle event is 33 inches, whereas the standard height used for
                    boys’ high school 110 meter hurdle is 39 inches.

             d.     The standard women’s basketball has a circumference of 28 1/2
                    to 29 inches and a weight of 20 oz, while a standard basketball
                    used in a men’s game has a circumference between 29 1/2 to 30
                    inches and a weight of 22 oz.

      50.    In track and field events that do not use equipment, the physiological

differences between males and females after puberty are stark in the record books.

No one doubts that top male and female high school athletes are equally committed


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to excelling in their sport, and train equally hard. Yet boys and men consistently

run faster and jump higher and farther than girls and women.

       51.    For example, in 2017, thousands of men and boys achieved times in the

400m faster than the best lifetime performances of three women Olympic

champions in that event. Each year, thousands of men—and dozens or hundreds of

high school boys under the age of 18—achieve times (or heights or distances) in

track events better than the world’s single best elite woman competitor that year.

       52.    As Duke Law professor and All-American track athlete Doriane

Lambelet Coleman, tennis champion Martina Navratilova, and Olympic track gold

medalist Sanya Richards-Ross recently wrote:

       The evidence is unequivocal that starting in puberty, in every sport
       except sailing, shooting and riding, there will always be significant
       numbers of boys and men who would beat the best girls and women in
       head-to-head competition. Claims to the contrary are simply a denial of
       science.

       Team USA sprinter Allyson Felix has the most World Championship
       medals in history, male or female, and is tied with Usain Bolt for the
       most World Championship golds. Her lifetime best in the 400 meters is
       49.26 seconds. In 2018 alone, 275 high school boys ran faster on 783
       occasions. The sex differential is even more pronounced in sports and
       events involving jumping. Team USA’s Vashti Cunningham has the
       American record for high school girls in the high jump at 6 feet, 4½
       inches. Last year just in California, 50 high school boys jumped higher.
       The sex differential isn’t the result of boys and men having a male
       gender identity, more resources, better training or superior discipline.
       It’s because they have androgenized bodies. 4




4
 Doriane Lambelet Coleman, Martina Navratilova, et al., Pass the Equality Act, But Don’t Abandon
Title IX, Washington Post (Apr. 29, 2019), https://wapo.st/2VKlNN1.

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          53.   As Professor Lambelet Coleman further explained in testimony before

the House Judiciary Committee on April 2, 2019, in track events even the world’s

best women’s Olympic athletes “would lose to literally thousands of boys and men,

including to thousands who would be considered second tier in the men’s category.

And because it only takes three male-bodied athletes to preclude the best females

from the medal stand, and eight to exclude them from the track, it doesn’t matter if

only a handful turn out to be gender nonconforming.” 5

          54.   This stark competitive advantage is equally clear at the high school

level. To illustrate, the charts below show the best boys’ and girls’ times in the

nation across five different high school track events during the 2019 indoor and

outdoor season:

Table 1: Best High School Outdoor 100m Times in 2019 6

    Boy                    Time                 Girl                        Time
    Matthew Boling         9.98s                Briana Williams             10.94s
    Micah Williams         10.21s               Semira Killebrew            11.24s
    Langston Jackson       10.23s               Thelma Davies               11.25s
    Joseph Fahnbulleh      10.23s               Tamari Davis                11.27s
    Ryan Martin            10.26s               Arria Minor                 11.31s
    Kenan Christon         10.26s               Tianna Randle               11.32s




5
  Testimony and illustrating graphic at
https://docs.house.gov/meetings/JU/JU00/20190402/109200/HHRG-116-JU00-Wstate-
LambeletColemanP-20190402.pdf, last visited February 11, 2020.
6 Results listed in this table are publicly available online at AthleticNET,

https://www.athletic.net/TrackAndField/Division/Top.aspx?DivID=97967 (boys), and at
AthleticNET,
https://www.athletic.net/TrackAndField/Division/Top.aspx?DivID=97967&amp;gender=f (girls).
These results were last visited February 11, 2020.

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    Lance Broome                10.27s                 Taylor Gilling      11.32s
    Tyler Owens                 10.29s                 Kenondra Davis      11.36s
    Ryota Hayashi               10.29s                 De’anna Nowling     11.40s
    Marquez Beason              10.30s                   Jacious Sears     11.41s



Table 2: Best High School Outdoor 200m Times in 2019 7
    Boy                         Time                   Girl                Time
    Matthew Boling              20.30s                 Briana Williams     22.88s
    Kenney Lightner             20.48s                 Thelma Davies       22.95s
    Cameron Miller              20.52s                 Tamari Davis        22.96s
    Kenan Christon              20.55s                 Kayla Davis         23.08s
    Kennedy Harrison            20.60s                 Taylor Gilling      23.10s
    Joseph Fahnbulleh           20.67s                 Arria Minor         23.10s
    Lance Broome                20.69s                 Aaliyah Pyatt       23.11s
    Devon Achane                20.69s                 Rosaline Effiong    23.16s
    Daniel Garland              20.73s                 Jayla Jamison       23.19s
    Langston Jackson            20.73s                 Dynasty McClennon   23.28s



Table 3: Best High School Outdoor 400m Times in 2019 8
    Boy                         Time                   Girl                Time
    Justin Robinson             44.84s                 Kayla Davis         51.17s
    Myles Misener Daley         45.62s                 Jan’Taijah Ford     51.57s
    Emmanuel Bynum              46.24s                 Athing Mu           51.98s
    Jayon Woodard               46.26s                 Britton Wilson      52.06s
    Alex Collier                46.33s                 Ziyah Holman        52.12s
    Jonah Vigil                 46.43s                 Kimberly Harris     52.16s


7   Id. These results were last visited February 11, 2020.
8   Id. These results were last visited February 11, 2020.

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    Zachary Larrier        46.49s               Aaliyah Butler              52.25s
    Omajuwa Etiwe          46.51s               Caitlyn Bobb                52.79s
    Sean Burrell           46.52s               Talitah Diggs               52.82s
    Edward Richardson      46.55s               Aaliyah Butler              52.87s



Table 4: Best High School Indoor 60m Times in 2019 9
    Boy                    Time                 Girl                        Time
    Micah Williams         6.60s                Tamari Davis                7.27s
    Lance Lang             6.62s                Briana Williams             7.28s
    Marcellus Moore        6.65s                Thelma Davies               7.30s
    Mario Heslop           6.70s                Moforehan Abinusawa         7.32s
    Langston Jackson       6.74s                Jacious Sears               7.33s
    Javonte Harding        6.77s                Semira Killebrew            7.34s
    LaCarr Trent           6.79s                Alexa Rossum                7.40s
    Justin Robinson        6.79s                Aliya Wilson                7.42s
    Bryan Santos           6.79s                Kaila Jackson               7.44s
    Tre Tucker             6.80s                Aja Davis                   7.44s



Table 5: Best High School Indoor 800m Times in 2019 10
    Boy                    Time                 Girl                        Time
    Alfred Chawonza        110.57s              Athing Mu                   123.98s




9 Results listed in this table are publicly available online at AthleticNET,
https://www.athletic.net/TrackAndField/Division/Event.aspx?DivID=102510&Event=42 (boys), and
at AthleticNET,
https://www.athletic.net/TrackAndField/Division/Event.aspx?DivID=102510&Event=42 (girls), last
visited February 11, 2020.
10 Results listed in this table are publicly available online at AthleticNET,

https://www.athletic.net/TrackAndField/Division/Event.aspx?DivID=102510&Event=4 (boys), and at
AthleticNET,
https://www.athletic.net/TrackAndField/Division/Event.aspx?DivID=102510&Event=22 (girls), last
visited February 11, 2020.

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 Malcolm Going           110.85s            Roisin Willis             125.70s
 Miller Anderson         111.54s            Michaela Rose             126.93s
 Luis Peralta            112.21s            Victoria Vanriele         127.24s
 Jake Renfree            112.33s            Maggie Hock               127.68s
 Liam Rivard             112.42s            Lily Flynn                128.15s
 Conor Murphy            113.25s            Victoria Starcher         128.32s
 Miguel Parrilla         113.41s            Aleeya Hutchins           128.52s
 Darius Kipyego          113.43s            Sarah Trainor             128.60s
 Theo Woods              113.53s            Makayla Paige             128.97s


      55.    In 2016, Vashti Cunningham set the high school American record in

the girls’ high jump at 6 feet, 4½ inches, and went on to represent the United States

at the Olympics in that same year. Yet to quote Professor Lambelet Coleman again,

if the 2016 girls’ high school track competition had been open to males,

“Cunningham would not have made it to her state meet, she would not be on the

national team, and we would not know her name other than as a footnote on her

father’s Wikipedia page.” And for the vast number of girls who benefit from the

experience of competitive athletics even if they are not future champions, “if sport

were not sex segregated, most school-aged females would be eliminated from

competition during the earliest rounds.” (Coleman 2020 at 20-21.)

      56.    Plaintiffs do not know whether or if so at what time the male students

who are competing in CIAC track events began taking cross-sex hormones. Nor

does this matter. Administering testosterone-suppressing drugs to males by no

means eliminates their performance advantage. Some physiological advantages—

such as bone size and hip configuration—cannot be reversed once they have


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occurred. And suppressing testosterone in men after puberty also does not

completely reverse their advantages in muscle mass and strength, bone mineral

density, lung size, or heart size.

      57.    This reality is evident in the performance of male athletes who have

competed as women after taking cross-sex hormones. For example, CeCe Telfer, a

male who ran as Craig Telfer throughout high school and the first two years of

college, certified compliance with the NCAA requirement of one year on

testosterone-suppressing drugs and began competing in female track events in

CeCe’s senior collegiate year, for the 2019 indoor and outdoor track and field

seasons. CeCe’s “personal best” did not go down substantially in any event following

at least a year on testosterone suppressing drugs, and in a number of events instead

improved:

Table 6: Comparison of “Craig” and “CeCe” Telfer Performance Times
Before and After Hormone Suppression

 Event                         “Craig” Telfer          “Cece” Telfer
 Indoor 200 Meter Dash         24.64s (2017)           24.45s (2019)
 Indoor 60 Meter Hurdles       8.91s (2018)            8.33s (2019)
 Outdoor 100 Meter Dash        12.38s (2017)           12.24s (2019)
 Outdoor 400 Meter             1:02.00s (2017)         57.53s (2019)
 Hurdles


      58.    Not surprisingly, while Craig Telfer ranked 212th and 433rd in the

400 meter hurdles among men’s Division II athletes in 2016 and 2017 respectively,

CeCe Telfer took the Division II national championship in women’s 400 meter

hurdles in 2019.




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        59.     Minna Sveard, the fastest female runner, finished almost a full two

seconds behind Telfer, and was recognized only as coming in second.

        60.     In short, if males compete in girls’ events after puberty, equally gifted

and dedicated female athletes simply can’t win.

   C.         Increasing Numbers of Girls Are Losing Athletic Victories and
              Opportunities to Transgender Competitors Today.

        61.     In the past, it has been argued that the unfair impact of males

competing in girls’ and women’s categories would be trivial, because few males will

wish to do so. But over just the last few years, the problem of boys and men taking

opportunities from girls and women has grown very rapidly.

        62.     As increasing numbers of males are in fact competing in girls' and

women’s events each year, girls are in fact losing, and males are seizing one “girls’”

or “women’s” championship and record after another.

        63.     Meanwhile, multiple sources report that the percentage of children

identifying as transgender has multiplied rapidly within just the last few years.

        64.     As a larger wave of males claiming transgender identity as girls and

women hits high school and college, the number of girls losing out on varsity spots,

playing time, medals, advancement to regional meets, championship titles and

records, and recognition on the victory podium, will also multiply. Indeed, given

that it only takes three males to sweep the titles at local, regional, and national

competitions entirely, and given the hard physiological facts reviewed above, if

increasing number of males compete in girls’ and women’s athletics, those born

female—girls—will simply vanish from the victory podium and national rankings.


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        65.     This wave of lost opportunities and lost equality for girls is all the

more inevitable when males are not merely permitted to take girls’ slots and girls'

titles, but are praised by schools and media as “courageous” and hailed as “female

athlete of the year” when they do so.

        66.     Perhaps worse, if the law permits males to compete as girls in high

school, then there is no principled basis on which colleges can refrain from

recruiting these “top performing girls” (in reality males) for their “women’s teams”

and offering them the “women’s” athletic scholarships.

        67.     In sum, because schools are permitting males to compete as girls and

women, girls and women are losing competitive opportunities, the experience of fair

competition, and the opportunities for victory and the satisfaction, public

recognition, and scholarship opportunities that can come from victory. More, girls

and young women are losing their dreams. To American girls—those born with XX

chromosomes—the message is, “Give up. You can’t win.”


  IV.     THE DISCRIMINATORY CIAC POLICY AND ITS IMPACT ON GIRLS

   A.         CIAC Adopts a New Policy Allowing Boys to Compete in Girls’
              Events.

        68.     CIAC rightly deems athletics an “integral” part of the state’s “total

educational program.”

        69.     CIAC declares that it seeks to offer athletic experiences that satisfy

the highest “expectations for fairness, equity, and sportsmanship for all student-

athletes and coaches” in order to maximize high school students’ “academic, social,

emotional, and physical development.”

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         70.   However, at some time before 2017, CIAC adopted a policy (“the CIAC

Policy” or “the Policy”) pursuant to which CIAC and member-schools began allowing

boys who identify as girls to compete in girls’ athletic events.

         71.   The CIAC Policy determines—and requires member-schools to

determine—eligibility to compete in sex-specific athletic competitions solely based

on “the gender identification of that student in current school records and daily life

activities in the school . . . .”

         72.   As detailed later in this Complaint, CIAC and its member-schools have

permitted male students to switch, from one season to the next, from competing in

boys’ events to competing (and winning) in girls’ events.

         73.   The CIAC Policy acknowledges that a male who competes in girls’

events gains an “unfair advantage in competitive athletics.” (CIAC By-Laws Article

IX, Section B.)

         74.   On information and belief, at no point prior to adoption of the Policy

did CIAC, the CIAC Board of Control, the CIAC Legislative Body, or any of the

Defendant Schools undertake any analysis of the likely impact on girls of the

Policy—including the likely impact on the quantity and quality of competitive

opportunities and opportunities for victory and advancement for girls in track and

field.

         75.   On information and belief, at no point since the adoption of the Policy

did CIAC, the CIAC Board of Control, the CIAC Legislative Body, or any of the

Defendant Schools undertake any analysis of the likely impact on girls of the



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Policy—including the likely impact on the quantity and quality of competitive

opportunities and opportunities for victory and advancement for girls in track and

field.

   B.          CIAC’s Policy Has Resulted in Unequal Opportunities for Girls in
               Track and Field Competitions in Connecticut.

         76.     As a result of CIAC’s policy, two biological males, Terry Miller and

Andraya Yearwood, were permitted to compete in girls’ athletic competitions

beginning in the 2017 track season.

         77.     Between them, Terry and Andraya have taken 15 women’s state

championship titles (titles held in 2016 by nine different Connecticut female

athletes) and have taken more than 85 opportunities to participate in higher level

competitions from female track athletes in the 2017, 2018, and 2019 seasons alone.

In this section, we detail this adverse impact on girls and young women.

         78.     To understand how opportunities to participate in higher levels of

athletic competition are determined for student athletes, it is necessary to

understand how CIAC has organized interscholastic track and field competition in

Connecticut. First, based on performance throughout the season, students may

qualify to participate in state “Class” championships, with schools grouped by size

(S, M, L, and LL). Thus, for example, a student might win the “Class M Women’s

Outdoor Track 100m” State championship. Next, the top-performing students

within each State Class championship qualify to participate in the State Open

championships, in which the top athletes in the state compete against each other

regardless of the size of the school that they attend. And finally, the top performers


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 5*      12       F     Kiara Smith                12.59s Jonathan Law
 6*      11       F     Kate Hall                  12.62s Stonington
 7       9        F     Chelsea Mitchell           12.69s Canton
 8       12       F     Tiandra Robinson           FS       Weaver

* Qualified for the New England Championship.

      87.     In the Winter 2017, Spring 2017, and Winter 2018 seasons, male

athlete Terry Miller competed in boys’ indoor or outdoor track events and did not

advance to any state class or open championships in individual events. Just weeks

after the conclusion of the Winter 2018 indoor season, Terry abruptly appeared

competing in the girls’ events in the Spring 2018 outdoor track season.

      88.     Terry’s switch to competing in the girls’ events immediately and

systematically deprived female athletes of opportunities to advance and participate

in state-level competition. According to AthleticNET records, Terry never lost a

women’s indoor 55m or 300m final in the 2018 or 2019 track seasons. Nor has Terry

lost a women’s outdoor 100m final in which Terry competed.

      89.     Terry has also displaced a girl in numerous elimination track events in

which Terry competed. At the 2018 outdoor State Open, for example, Terry won the

women’s 100m event by a wide margin, while Andraya finished second. But for

CIAC’s policy, Bridget Lalonde would have won first place statewide in that event,

Chelsea Mitchell would have won second place statewide, and Tia Marie Brown and

Ayesha Nelson would have qualified to compete in the New England Championship:




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       93.     But for CIAC’s policy, Kate Shaffer would have won second place in the

55m at the indoor state championship; and seventh-place senior Cori Richardson

would have qualified for the New England Championship. (Table 12)

       94.     But for CIAC’s policy, Chelsea Mitchell would have made her school’s

history as the first female athlete from Canton High School indoor ever to be named

State Open Champion, and the first ever Canton High School track athlete to be

named a State Open Champion.

       95.     State Open Champions are recognized as All State Athletes, an award

listed on college applications, scholarship applications, and college recruiting

profiles. State Open Champions are also invited to the All-State Banquet and have

their achievements celebrated with a banner in their high school gym.

       96.     But instead of receiving the accolades and publicity she earned,

Chelsea Mitchell was repeatedly referred to in the press as the “third-place

competitor.” 17

       97.     Following Terry Miller’s sweep of the CIAC’s Indoor Class S, State

Open, and New England titles in the 55m dash and 300m, this male athlete was

named “All-Courant girls indoor track and field athlete of the year” by the Hartford

Courant newspaper. 18




17 See, e.g., https://www.washingtontimes.com/news/2019/feb/24/terry-miller-andraya-yearwood-
transgender-sprinter/, last visited February 11, 2020.
18 https://www.courant.com/sports/high-schools/hc-sp-terry-miller-all-courant-20190410-36bj/, last

visited February 11, 2020.

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      100.   Males took 23 out of 28 first and second place awards in those seven

state-level competitive events.

      101.   And from these competitions, boys were awarded 51 opportunities to

participate in a higher-level state competition, while girls were awarded only 31

such opportunities—little more than half as many as went to boys.

      102.   In short, in these events girls—those born with XX chromosomes—

received radically fewer opportunities to participate in elite post-season competition

than did boys—those born with XY chromosomes.

      103.   Nor are these isolated examples. The presence of boys competing in

CIAC girls’ track and field events in Connecticut has now deprived many female

athletes of opportunities to achieve public recognition, a sense of reward for hard

work, opportunities to participate in higher level competition, and the visibility

necessary to attract the attention of college recruiters and resulting scholarships.

The impact summary below identifies over 50 separate times in competitions since

2017 that specific, identifiable girls have been denied the recognition of being

named state-level first-place champions, and/or have been denied the opportunity to

advance to and participate in higher-level competition, in CIAC-sponsored events as

a result of the unfair participation of Terry Miller and Andraya Yearwood in girls’

track competitions pursuant to the CIAC Policy.

      104.   In sum, the real-world result of the CIAC Policy is that in Connecticut

interscholastic track competitions, while highly competitive girls are experiencing

the no doubt character-building “agony of defeat,” they are systematically being



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         106.   The harm inflicted on girls by the CIAC policy, however, goes far

beyond specific lost victories and lost opportunities to participate in elite meets, and

far beyond the specific girls who have been deprived of that recognition and those

opportunities. Instead, the harm extends at least to all girls who participate in

track and field events under the CIAC Policy, and indeed to girls—including young

girls—who may now or someday aspire to become track and field athletes.

         107.   The cumulative effect of the CIAC Policy is that all girls in Connecticut

do not receive equal athletic opportunities. Whether or not a girl is the one who

loses out to a male in a particular race, the quality of competitive opportunities

provided to all girls does not equally reflect the quality of competitive opportunities

provided to boys, because—in contrast to boys—girls are forced to face a level of

competition that does not equally reflect and accommodate girls’ different

physiological characteristics and abilities.

         108.   Compared to boys, girls competing subject to the CIAC policy lose not

only victories and post-season slots, they lose even an equal hope of victory, success

and recognition. They do not have an equal chance to be champions; they cannot

equally dream that if they train hard, they have at least the potential to stand on

the victory podium.

         109.   Instead, when a male is competing in the girls’ division, Plaintiffs and

other girls are forced to step to the starting line thinking, “I can’t win.” “I’m just a

girl.”




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      110.   The Plaintiffs’ personal and attainable goals of victory are being taken

from them season after season, and meet after meet.

      111.   Plaintiff Alanna Smith knows before she gets to the track that she will

not win the top spot against a male—she and her fellow female competitors are

simply competing for second or third place.

      112.   The Plaintiffs are demoralized, knowing that their efforts to shave

mere fractions of a second off of their race times in the hopes of experiencing the

thrill of victory could all be for naught, and lost to mid-level male athletes.

      113.   For Plaintiff Chelsea Mitchell and many other female athletes, they

also feel stress, anxiety, intimidation, and emotional and psychological distress from

being forced to compete against males with inherent physiological advantages in the

girls’ category. While important races always involve some element of stress,

Chelsea has felt physically sick before races in which she knew she would have to

race against a male, while Plaintiff Selina Soule suffered depression after being

excluded from participation in State finals because top places in the girls’ rankings

were occupied by males.

      114.   And they are told to shut up about it. As another female Connecticut

track athlete who was too afraid to let her name be used told a reporter:

               “There’s really nothing else you can do except get super
               frustrated and roll your eyes, because it’s really hard to




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                  even come out and talk in public, just because . . just
                  immediately you’ll be shut down.” 20

          115.   Chelsea Mitchell was instructed by officials of Canton High School to

respond “no comment” if asked about running against male athletes.

     C.      Defendants Are on Notice of Their Violations of Title IX and Have
             Refused to Take Corrective Action.

          116.   The CIAC and its member schools, including Defendant Schools, have

been informed of the ways in which the Policy violates Title IX, and have been

informed in detail about the actual impact that the Policy has had and is having on

the quantity and quality of competitive opportunities for girls since well before June

18, 2019, on which date Plaintiffs filed a complaint concerning the Policy with the

U.S. Department of Education Office for Civil Rights (OCR), and publicly posted

that complaint online (the OCR Complaint”).

          117.   The OCR Complaint disclosed all facts concerning the impact of the

Policy on female athletes in Connecticut that are gathered in this Complaint

through the conclusion of the Spring 2019 Outdoor Season.

          118.   Since receiving the OCR Complaint, Defendants have taken no steps to

change the Policy, to correct official records and publicity materials to give accurate

credit to girls who would have been recognized as victors but for Defendants’

violations of Title IX, or to cease and correct their violations of Title IX in any way

whatsoever.



20Quoted in Kelsey Bolar, 8th Place: A High School Girl’s Life After Transgender Students Join Her
Sport, The Daily Signal (May 6, 2019), https://www.dailysignal.com/2019/05/06/8th-place-high-
school-girls-speak-out-on-getting-beat-by-biological-boys/, last visited February 11, 2020.

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      119.     In fact, long before filing the OCR Complaint, parents of Plaintiffs had

repeatedly warned senior officials of CIAC and of Defendant Schools that the Policy

was denying girls equal competitive opportunities and public recognition in track

and field. For example, on February 21, 2018, Christina Mitchell, mother of

Plaintiff Chelsea Mitchell, sent a letter to the Executive Director of CIAC

explaining in detail how the Policy deprives girls of fair and equal opportunities for

competition.

      120.     After that time, Mrs. Mitchell and Bianca Stanescu, mother of Plaintiff

Selina Soule, met—or requested to meet—repeatedly with responsible officials of

CIAC and Defendant Schools to discuss their concerns about unfairness to girls, and

to request that the Policy be changed.

      121.     In response to these warnings and complaints from parents concerning

the effect of the Policy on girls, Defendants took no steps whatsoever to change the

Policy, to correct official records and publicity materials to give accurate credit to

girls who would have been recognized as victors but for Defendants’ violations of

Title IX, or to cease and correct their violations of Title IX in any way whatsoever.

      122.     Instead, when in March 2019—a year after her first letter—Mrs.

Mitchell sent a third detailed letter on the same topic to the Mr. Glenn Lungarini,

then Executive Director of CIAC, Mr. Lungarini informed her that CIAC would no

longer accept any communications from her, effectively retaliating against her for

her prior complaints of discrimination against girls by imposing a gag order and




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denying her right to complain of sex-based discrimination against her daughter and

other girls in Connecticut schools.

      123.    On information and belief, by no later than on or about October 4,

2019, the OCR informed all Defendants that OCR found the allegations of the OCR

Complaint sufficiently serious that OCR had initiated a formal investigation of

those allegations against all Defendants.

      124.    Since receiving notice that the OCR had initiated a formal

investigation of Defendants’ alleged violations of Title IX, Defendants have taken no

steps whatsoever to change the Policy, to correct official records and publicity

materials to give accurate credit to girls who would have been recognized as victors

but for Defendants’ violations of Title IX, or to cease and correct their violations of

Title IX in any way whatsoever.


         V.     PLAINTIFFS ARE ENTITLED TO INJUNCTIVE RELIEF

      125.    Plaintiff Chelsea Mitchell has qualified to compete in the CIAC Class S

Indoor Track Championships to be held on February 14, 2020, in the 55m dash and

the 300m events.

      126.    The qualifying times of all student athletes competing in the Class S

Championships are publicly available online at CIACsports.com and AthleticNet.

      127.    Based on her qualifying times, Chelsea is currently the fastest girl in

the 55m both in the Class S and across all class divisions in Connecticut.




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       128.    Based on her qualifying time, Chelsea is also the fastest girl in the

300m in the Class S division and ranked sixth across all class divisions in

Connecticut.

       129.    Chelsea has a chance of being the fastest girl in the Class S

Championships in the 55m dash and 300m for the 2020 Winter season.

       130.    But male athlete Terry Miller has also qualified to compete in the girls’

55m and 300m at the Class S Championships.

       131.    Male athlete Andraya Yearwood has also qualified to compete in the

girls’ 55m dash at the Class S Championships.

       132.    Terry Miller has repeatedly achieved times faster than the elite girls’

times in Connecticut in the 55m and 300m events.

       133.    If Terry is permitted to compete in the girls’ 55m and 300m events, it

is likely that Terry will deprive Chelsea of a victory position that she has earned in

the Class S Championship.

       134.    Moreover, Andraya Yearwood has repeatedly achieved times faster

than the elite girls’ times in Connecticut in the 55m event.

       135.    Based on Andraya Yearwood’s qualifying time in the 55m, Andraya is

currently ranked first in the girls’ division for the Class S Championship and across

all divisions. 21




21AthleticNet,
https://www.athletic.net/TrackAndField/Division/Event.aspx?DivID=112251&Event=46, last visited
February 11, 2020.

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       140.   Chelsea has a chance of being the fastest girl in the State Open in the

55m dash and 300m for the 2020 Indoor season and securing a spot to advance to

the New England Regional Championships.

       141.   Selina has a chance of competing for a top spot in the State Open in

the 55m dash for the 2020 Indoor season and competing for a spot to advance to the

New England Regional Championships.

       142.   But if Terry Miller and Andraya Yearwood are permitted to compete in

the girls’ 55m event, it is likely that one or both of these males will deprive Chelsea

and Selina of a victory position she has earned in the State Open Championship.

       143.   All three Plaintiffs intend to compete in the Spring 2020 track and

field season. That season begins in March, and the first interscholastic meet subject

to CIAC rules may be scheduled as early as April 4, 2020.

       144.   As Chelsea and Selina are seniors, the Spring 2020 track season is

their final opportunity to compete in high school track and field events, to improve

their scores, to win championships, to receive public recognition of their

achievements, and to experience the thrill of victory.

       145.   Plaintiff Alanna Smith is a sophomore and expects to compete in CIAC

track and field competitions next year and throughout her high school years. As

noted in paragraph 98 above, Alanna has already been pushed down from an earned

second place victory in a 2019 State Championship when male athlete Terry Miller

took first place.




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      146.   Plaintiffs do not know what males or how many males will wish to

compete in CIAC girls’ track and field events in the Spring 2020 season, or the

coming academic year. In fact, they have no way to know that until the season

starts, as illustrated by the fact that Terry Miller competed in the boys’ events in

the Winter 2018 indoor season and just weeks later started competing in the girl’s

events in the Spring 2018 outdoor season.

      147.   Each track season lasts only a few weeks. If Alanna waits until the

start of the next season to seek injunctive relief, the season will be over before there

can be any realistic hope of legal redress.

      148.   Because of the multiple different negative impacts on girls detailed in

this Complaint, Plaintiffs are entitled to injunctive relief prohibiting all Defendants

from permitting boys to participate in girls’ track and field competitions.

      149.   Failure to grant the requested relief will cause irreparable harm to

Plaintiffs by continuing to deny them the experience of fair competition that reflects

the athletic capabilities of female athletes, as well as the experience of victory and

the recognition that can come from victory. Each meet, once over, cannot be redone.

Each opportunity lost for participation in an elite meet cannot be recovered. There

is no adequate remedy at law for this harm.

      150.   The continuing, irreparable harm caused by Defendants’ failure to

provide equal competitive opportunities for girls in track and field far outweighs

any cognizable harm that granting the harm might cause Defendants, because the

requested injunctive relief is already mandated by federal law.



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      151.   CIAC publicly posts results of past State Championship meets on their

website going back at least three years. In addition, schools including at least

Defendant School Canton publicly post lists of championships won by their

students, going back many years. As a result of competition by male athletes in

girls’ events in violation of Title IX, female athletes including Plaintiffs have been

denied accurate public recognition of their athletic achievements and victories in

these postings.

      152.   Plaintiffs are entitled to injunctive relief requiring all Defendants to

correct all league or school records, public or private, to accurately reflect the

achievements of these girls in competition against other girls, not against males.

      153.   Failure to grant this requested relief will cause irreparable harm to

Plaintiffs by continuing to deprive them of public recognition for their hard-earned

athletic accomplishments. There is no adequate remedy at law for this harm.

      154.   The continuing, irreparable harm caused by Defendants’ posting of

inaccurate records resulting from the unlawful CIAC Policy outweighs any

cognizable harm that granting the harm might cause Defendants, because the

requested injunctive relief is already mandated by federal law.

                                 COUNT I: TITLE IX

     Sex Discrimination by Failing to Provide Effective Accommodation for the
                          Interests and Abilities of Girls

      155.   Plaintiffs reallege and incorporate by reference all of the foregoing

paragraphs of this Complaint.

      156.   All Defendants are subject to the obligations of Title IX.


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      157.   Defendants have chosen to provide athletic opportunities in track and

field separated by sex.

      158.   As a result, Defendants have an obligation to provide competitive

opportunities for females that accommodate the physical abilities of girls in a

manner that ensures that female athletes face competitive opportunities “which

equally reflect their abilities” and which provide equal opportunity in . . . levels of

competition” as compared to the competitive opportunities enjoyed by boys.

      159.   As a result of profound physiological differences between the sexes

after puberty, the athletic abilities of girls relevant to track and field competitions

are not equal to those of comparably fit and trained boys.

      160.   As a result of this inescapable difference, by permitting males to

compete in girls’ track and field events, all Defendants have violated their duty to

provide competitive opportunities for female athletes that accommodate their

abilities and provide equal opportunities in levels of competition, as illustrated by

the fact that in events where males have actually been permitted in elite post-

season competitions, boys have been awarded far more first place victories and

recognitions than girls, and far more opportunities to advance to state finals.

      161.   All Plaintiffs are harmed by Defendants' failure to provide competitive

opportunities that fairly and effectively accommodate the athletic abilities of girls.

      162.   Such harm includes loss of the experience of fair competition; loss of

victories and the public recognition associated with victories; loss of opportunities to




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advance to higher-level competitions; loss of visibility to college recruiters;

emotional distress, pain, anxiety, and other damages to be proven at trial.

      163.   Accordingly, Plaintiffs are entitled to the relief requested herein.

                                  COUNT II: Title IX

      Sex Discrimination by Failing to Provide Equal Treatment, Benefits and
                             Opportunities for Girls

      164.   Plaintiffs reallege and incorporate by reference all of the foregoing

paragraphs of this Complaint.

      165.   All Defendants are subject to the obligations of Title IX.

      166.   Defendants have chosen to provide athletic opportunities in track and

field separated by sex.

      167.   As a result, all Defendants have an obligation to ensure that female

athletes receive equivalent treatment, benefits and opportunities in athletic

competition as compared to boys.

      168.   Equivalent treatment and opportunities require equal opportunities to

engage in post-season competition, and more broadly the right to be free of any

policies which are “discriminatory in language or effect” or have the effect of

denying “equality of athletic opportunity.”

      169.   As detailed herein, the CIAC Policy deprives female athletes, including

Plaintiffs Chelsea Mitchell, Selina Soule, and Alanna Smith, of equal opportunities

to engage in post-season competition, is discriminatory in effect, and denies girls

equality in athletic opportunities, including equal opportunities to achieve and be

recognized for victory.


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      170.   By providing track and field competitive opportunities for girls subject

to the CIAC policy that permits males to participate in girls’ events and be

recognized as winners of girls’ events, all Defendants have violated their obligation

under Title IX to provide equal treatment, benefits and opportunities in athletic

competition to girls.

      171.   All Plaintiffs are harmed by Defendants' failure to provide competitive

opportunities that fairly and effectively accommodate the athletic abilities of female

athletes. Such harm includes loss of the experience of fair competition; loss of

victories and the public recognition associated with victories; loss of opportunities to

advance to higher-level competitions; loss of visibility to college recruiters;

emotional distress, pain, anxiety, and other damages to be proven at trial.

      172.   Accordingly, Plaintiffs are entitled to the relief requested herein.

                               PRAYER FOR RELIEF
Plaintiffs respectfully request that this Court enter judgment against Defendants

and grant Plaintiffs the following relief:


      (A)    A declaration that Defendants have violated Title IX by failing to
             provide competitive opportunities that effectively accommodate the
             abilities of girls;

      (B)    A declaration that Defendants have violated Title IX by failing to
             provide equal treatment, benefits, and opportunities for girls in in
             athletic competition;

      (C)    An injunction prohibiting all Defendants, in interscholastic athletic
             competitions sponsored, organized, or participated in by the
             Defendants or any of them, from permitting males—individuals with
             an XY genotype—from participating in events that are designated for
             girls, women, or females;



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      (D)   An injunction requiring all Defendants to correct any and all records,
            public or non-public, to remove male athletes from any record or
            recognition purporting to record times, victories, or qualifications for
            elite competitions designated for girls or women, and conversely to
            correctly give credit and/or titles to female athletes who would have
            received such credit and/or titles but for the participation of males in
            such competitions;

      (E)   An injunction requiring all Defendants to correct any and all records,
            public or non-public, to remove times achieved by male athletes from
            any records purporting to record times achieved by girls or women;

      (F)   An award of nominal and compensatory damages and other monetary
            relief as permitted by law;

      (G)   An award of Plaintiffs’ reasonable attorneys’ fees and expenses, as
            authorized by 42 U.S.C. § 1988;

      (H)   Such other and further relief as the Court deems appropriate.




Respectfully submitted this 12th day of February, 2020.




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**Pro Hac Vice Motion forthcoming




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